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FII.ED BY ___ D.C.
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE DSJUng PH aghh
WESTERN DIVISION

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HARRY sIMMONS,
Plaintiff,
VS' No. 05-2338-M1/v

REGIONAL MEDICAL CENTER, et al.,

Defendants.

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ORDER ASSESSING $250 CIVIL FILING FEE
ORDER OF DISMISSAL
ORDER CERTIFYING APPEAL NOT_TAKEN IN GOOD FAITH
AND
NOTICE OF APPELLATE FILING FEE

 

Plaintiff Harry Simmons, booking number 04116045, an
inmate at the Shelby County Criminal Justice Complex (“Jail”) in
Memphis, filed a p;g §§ complaint pursuant to 42 U.S.C. § 1983 on
May 5, 2005. The Clerk shall record the Defendants as the Regional
Medical Center (the “Med”), Bruce Steinhauer, and Margaret

Anderson.

I. Assessment of Filing Fee

Under the PLRA, 28 U.S.C. § 1915(b), all prisoners

bringing a civil action must pay the full filing fee of $250

 

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required by 28 U.S.C. § 1914(a).l The ip fppmg pauperis statute, 28
U.S.C. § 1915(a), merely provides the prisoner the opportunity to
make a “downpayment” of a partial filing fee and pay the remainder
in installments.

In this case, Plaintiff has properly completed and
submitted both an ip fprmg pauperis affidavit and a prison trust
fund account statement. Pursuant to 28 U.S.C. § 1915(b)(l), it is
ORDERED that the Plaintiff cooperate fully with prison officials in
carrying out this order. It is further ORDERED that the trust fund
officer at Plaintiff's prison shall calculate a partial initial
filing fee equal to twenty percent (20%) of the greater of the
average balance in or deposits to the Plaintiff’s trust fund
account for the six months immediately preceding the completion of
the affidavit. When the account contains any funds, the trust fund
officer shall collect them and pay them directly to the Clerk of
Court. If the funds in Plaintiff’s account are insufficient to pay
the full amount of the initial partial filing fee, the prison
official is instructed to withdraw all of the funds in the
Plaintiff’s account and forward them to the Clerk of Court. On each
occasion that funds are subsequently credited to Plaintiff's
account the prison official shall immediately withdraw those funds
and forward them to the Clerk of Court, until the initial partial

filing fee is paid in full.

 

1 Effective March 7, 2005, the civil filing fee increased from $150 to

$250.

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It is further ORDERED that after the initial partial
filing fee is fully paid, the trust fund officer shall withdraw
from the Plaintiff's account and pay to the Clerk of this Court
monthly payments equal to twenty percent (20%) of all deposits
credited to Plaintiff's account during the preceding month, but
only when the amount in the account exceeds $10.00, until the
entire $250 filing fee is paid.

Each time that the trust fund officer makes a payment to
the Court as required by this order, he shall print a copy of the
prisoner's account statement showing all activity in the account
since the last payment under this order and file it with the Clerk
along with the payment.

All payments and account statements shall be sent to:

Clerk, United States District Court, Western District of
Tennessee, 167 N. Main, Room 242, Memphis, TN 38103

and shall clearly identify Plaintiff's name and the case number on
the first page of this order.

If Plaintiff is transferred tx> a different prison or
released, he is ORDERED to notify the Court immediately of his
change of address. If still confined he shall provide the officials
at the new prison with a copy of this order.

If the Plaintiff fails to abide by these or any other
requirements of this order, the Court may impose appropriate
sanctions, including dismissal of this action or a monetary fine,

without any additional notice or hearing by the Court.

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The Clerk shall mail a copy of this order to the prison
official in charge of prison trust fund accounts at Plaintiff's
prison. The Clerk is further ORDERED to forward a copy of this
order to the Jail Director to ensure that the custodian of the
Plaintiff’s inmate trust fund account complies with that portion of
the PLRA pertaining to the payment of filing fees.

The obligation to pay this filing fee shall continue
despite the immediate dismissal of this case. 28 U.S.C. §
1915(e)(2). The Clerk shall not issue process or serve any papers
in this case.

II. Analvsis of Plaintiff’s Claims

The Complaint alleges that, on June l, 2004, the
Plaintiff was transported to the Med for a follow-up examination
for an unspecified medical condition. While Plaintiff was
handcuffed to a medical walker, he slipped and fell due to a
damaged floor that leaked water from beneath the floor tiles. The
prayer for relief does not specify any relief.

The Court is required to screen prisoner complaints and
to dismiss any complaint, or any portion thereof, if the complaint:

(l) is frivolous, malicious, or fails to state a
claim upon which relief may be granted; or

(2) seeks monetary relief from a defendant who is
immune from such relief.

28 U.S.C. § 1915A(b); see also 28 U.S.C. § 1915(e)(2)(B). Even

claims that have not been exhausted may be dismissed on the merits.

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42 U.S.C. § 1997e(c)(2).2 Plaintiff's Complaint is subject to
dismissal in its entirety.

As a preliminary matter, the Complaint contains no
factual allegations about Defendants Steinhauer and Anderson. When
a plaintiff completely fails to allege any action by a defendant,
it necessarily “appears beyond doubt that the plaintiff can prove
no set of facts which would entitle him to relief.” Spruytte v.
Walters, 753 F.2d 498, 500 (6th Cir. 1985).

The Complaint also does not allege an Eighth Amendment
claim.3 The Eighth Amendment prohibits cruel and unusual

punishment. See generally Wilson v. Seiter, 501 U.S. 294 (1991). An

 

Eighth Amendment claim consists of both objective and subjective
components. Farmer v. Brennan, 511 U.S. 825, 834 (1994); Hudson v.
McMillian, 503 U.S. l, 8 (1992); Wilson, 501 U.S. at 298; Brooks v.
Celeste, 39 F.3d 125, 127-28 (6th Cir. 1994); Hunt v. Reypolds, 974

F.2d 734, 735 (6th Cir. 1992). The objective component requires

 

2 In this case, the exhaustion requirement is inapplicable because the

Complaint does not concern prison conditions. The Complaint alleges that
Plaintiff filed a grievance and Jail officials informed him that they are not
responsible for conditions at the Med.

3 Convicted inmates' rights stem from the Eighth.Amendment, while pre-
trial detainees' rights stem from the Fourteenth Amendment. Thompson v. County
of Medina, 29 F.3d 238, 242 (6th Cir. 1994); Roberts v. City of Troy, 773 F.2d
720, 723 (6th Cir. 1985). The scope of a detainee's Fourteenth Amendment rights
are equivalent to that of a convicted inmate under the Eighth. Amendment.
Thompson, 29 F.3d at 242; Roberts, 773 F.2d at 723; see also Rankin v.
Klevenhagen, 5 F.3d 103, 107 (Sth Cir. 1993); Valencia v. Wiggins, 981 F.2d 1440,
1446 (5th Cir. 1993). See generally Graham v. Connor, 490 U.S. 386, 395 n.lO
(1989); Vinevard v. Countv of Murrav, 990 F.2d 1207, 1211-12 (1lth Cir. 1993);
Gilland v. Owens, 718 F. Supp. 665, 682-83 (W.D. Tenn. 1989). In this case. it
is not clear whether the Plaintiff was a pretrial detainee at the time of the
incident in question. As the scope of his rights are equivalent in any event, the
Court will analyze his claims under Eighth Amendment principles.

 

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that the deprivation be “sufficiently serious.” Farmer, 511 U.S. at
834; Hudson, 503 U.S. at 8; Wilson, 501 U.S. at 298. The subjective
component requires that the official act with the requisite intent,
that is, that he have a “sufficiently culpable state of mind.”
Farmer, 511 U.S. at 834; Wilson, 501 U.S. at 297, 302~03.

In order to satisfy the objective component of an Eighth
Amendment claim, the plaintiff must show that he “is incarcerated
under conditions posing a substantial risk of serious harm,”
Farmer, 511 U.S. at 834; Stewart v. Love, 796 F.2d 43, 44 (6th Cir.
1982), or that he has been deprived of the “minimal civilized
measure of life’s necessities,” Wilson, 501 U.S. at 298 (quoting

Rhodes v. Chapman, 452 U.S. 337, 347 (1981)). The Constitution

“‘does not mandate comfortable prisons.'” Wilson, 501 U.S. at 298

(quoting Rhodes, 452 U.S. at 349). Rather, “routine discomfort ‘is
part of the penalty that criminal offenders pay for their offenses
against society.'” Hudson, 503 U.S. at 9 (quoting Rhodes, 452 U.S.
at 347).

In considering the types of conditions that constitute a
substantial risk of serious harm, the Court considers not only the
seriousness of the potential harm and the likelihood that the harm
will actually occur, but evidence that unwilling exposure to that
risk violates contemporary standards of decency, i.e., that society
does not choose to tolerate this risk in its prisons. Helling v.

McKinney, 509 U.S. 25, 36 (1993). In this case, it appears unlikely

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that a puddle of water on a hospital floor is sufficiently serious
to satisfy the objective component of an Eighth Amendment
violation.

To establish liability under the Eighth Amendment for a
claim based on failure to prevent harm to a prisoner, a plaintiff
must show that the prison officials acted with “deliberate
indifference” to a substantial risk that the prisoner would suffer
serious harm. Farmer, 511 U.S. at 834; Helling v. McKinnev, 509

U.S. 25, 32 (1993); Woods v. Lecureux, 110 F.3d 1215, 1222 (6th

 

Cir. 1997); Street v. Corrections Corp. of Am., 102 F.3d 810, 814
(6th Cir. 1996); Tavlor v. Michiqan Dep't of Corrections, 69 F.3d
76, 79 (6th Cir. 1995). “[D]eliberate indifference describes a
state of mind more blameworthy than negligence.” Farmer, 511 U.S.
at 835. Thus,

[a] prison official cannot be found liable under the
Eiohth Amendment for denying an inmate humane conditions
of confinement unless the official knows of and
disregards an excessive risk to inmate health or safety;
the official must both be aware of facts from which the
inference could §be drawn that a substantial risk; of
serious harm exists, and.he must also draw the inference.
This approach comports best with the text of the Eighth
Amendment as our cases have interpreted it. The Eighth
Amendment does not outlaw cruel and unusual “conditions”;
it outlaws cruel and unusual “punishments.” An act or
omission unaccompanied.by knowledge of a significant risk
of harm. might well be something society wishes to
discourage, and if harm does result society might well
wish to assure compensation. The common law reflects such
concerns when it imposes tort liability cnl a purely
objective basis. . . . But an official's failure to
alleviate a significant risk that he should have
perceived but did not, while no cause for commendation,

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cannot under our cases be condemned as the infliction of
punishment.

;dp at 837-38 (emphasis added; citations omitted).

At most, the Defendants were negligent in not repairing
a leak and in not cleaning up the puddle of water on the floor. The
law is clear that the negligent infliction of harm does not violate
the Eighth Amendment. Lewellen v. Metropolitan Gov't of Nashville
& Davidson County, 34 F.3d 345, 348 (6th Cir. 1994) (“[T]he
defendants obviously did not make a deliberate decision to inflict
pain and bodily injury on the plaintiff. The defendants may have
been negligent, but it is now firmly settled that injury caused by
negligence does not constitute a ‘deprivation' of any
constitutionally protected interest.”). Accordingly, the Plaintiff
has also failed to satisfy the subjective component of an Eighth
Amendment violation.

Accordingly, the Court DISMISSES the Complaint in its
entirety, pursuant to 28 U.S.C. §§ 1915(e)(2)(B)(ii) and
1915A(b)(l), for failure to state a claim on which relief may be
granted.

III. Appeal Issues

The next issue to Ibe addressed. is whether Plaintiff
should. be allowed to appeal this decision. ip _§Q;gp; pauperis.
Twenty-eight U.S.C. § l915(a)(3) provides that an appeal may not be
taken ip fp;mg pauperis if the trial court certifies in writing

that it is not taken in good faith.

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The good faith standard is an objective one. Coppedge v.
United States, 369 U.S. 438, 445 (1962). An appeal is not taken in
good faith if the issue presented is frivolous. igi Accordingly, it
would be inconsistent for a district court to determine that a
complaint should be dismissed prior to service on the defendants,
yet has sufficient merit to support an appeal ip ip;pp pauperis.
See Williams v. Kullman, 722 F.2d 1048, 1050 n.1 (2d Cir. 1983).
The same considerations that lead the Court to dismiss this case
for failure to state a claim also compel the conclusion that an
appeal would not be taken in good faith.

It is therefore CERTIFIED, pursuant to 28 U.S.C. §
1915(a)(3), that any appeal in this matter by Plaintiff is not
taken in good faith and Plaintiff may not proceed on appeal ip
ipppp pauperis.

The final matter to be addressed is the assessment of a
filing fee if Plaintiff appeals the dismissal of this case.4 In
McGore v. Wriqqlesworth, 114 F.3d 601, 610-11 (6th Cir. 1997), the
Sixth Circuit set out specific procedures for implementing the
PLRA. Therefore, the Plaintiff is instructed that if he wishes to

take advantage of the installment procedures for paying the

 

‘ Effective November l, 2003, the fee for docketing an appeal is $250.

See Judicial Conference Schedule of Fees, l 1, Note following 28 U.S.C. § 1913.
Under 28 U.S.C. § 1917, a district court also charges a $5 fee:

Upon the filing of any' separate or joint notice of appeal or
application for appeal or upon the receipt of any order allowing, or
notice of the allowance of, an appeal or of a writ of certiorari $5
shall be paid to the clerk of the district court, by the appellant
or petitioner.

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appellate filing fee, he must comply with the procedures set out in

McGore and § 1915(b).

For analysis under 28 U.S.C. § 1915(g) of future filings,
if any, by this Plaintiff, this is the first dismissal of one of

his cases as frivolous or for failure to state a claim.

IT IS SO ORDERED this 161 day of July, 2005.

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JO PHIPPS MCCALLA
TED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CV-02338 Was distributed by faX, mail, or direct printing on
July 20, 2005 to the parties listed.

 

 

Harry Simmons

SHELBY COUNTY .TUSTICE CENTER
04 l l 6045

201 Poplar

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

